                     Case 1:06-cr-00203-AWI Document 134 Filed 12/01/08 Page 1 of 4
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             BRYAN KEITH JONES
                      (Defendant’s Name)                                  Criminal Number: 1:06CR00203-004


                                                                          HARRY DRANDEL
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1,2,3,4 as alleged in the violation petition filed on 10/24/2008 .
[]  was found in violation of condition(s) of supervision as to charge(s)       after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 12/3/2007 .

       The defendant is sentenced as provided in pages 2 through 4 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                              11/24/2008
                                                                                    Date of Im position of Sentence


                                                                                        /S/ ANTHONY W . ISHII
                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W . ISHII, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 12/1/2008
                                                                                                   Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:06CR00203-004                                                         Judgment - Page 2 of 4
DEFENDANT:                  BRYAN KEITH JONES

                                                       ADDITIONAL VIOLATION
                                                                                   Date Violation
Violation Num ber                    Nature of Violation                           Concluded


One                                  Failure to notify probation within 72 hours   8/6/2008
                                     of being arrested or questioned by law
                                     enforcement
Two                                  Failure to answer truthfully all inquires by the 8/6/2008
                                     probation officer
Three                                Failure to follow instructions of the          10/22/08
                                     probation officer
Four                                 Failure to report for Mandatory office         10/22/08
                                     appointment
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:06CR00203-004                                                               Judgment - Page 3 of 4
DEFENDANT:                 BRYAN KEITH JONES



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 4 m onths .

Court noted the arrest date to be 11/06/2008




[]       The court m akes the following recom m endations to the Bureau of Prisons:




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                      Case 1:06-cr-00203-AWI Document 134 Filed 12/01/08 Page 4 of 4
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                 1:06CR00203-004                                                                             Judgment - Page 4 of 4
DEFENDANT:                   BRYAN KEITH JONES


                                                  SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of 20 months .
ALL PREVIOUS TERMS AND CONDITIONS OF SUPERVISION ARE TO REMAIN IN FULL FORCE AND EFFECT.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U ]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
          jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
          employed, or is a student. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)     the defendant shall not leave the judicial district without permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
       acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
       of a felony unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
       any contraband observed in plain view by the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement.
